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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                    DistrictDistrict
                                               __________    of Columbia
                                                                     of __________


                           Zach Mills                           )
                             Plaintiff                          )
                                v.                              )      Case No. 1:22-cv-1001-CKK
                American University, et al.,                    )
                            Defendant                           )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Eleni Ekmektsioglou, Luciana Storelli-Castro, Manaswini Ramkumar, and Marcelline T. Babicz        .


Date:          09/07/2022                                                             /s/ Laurel Pyke Malson
                                                                                         Attorney’s signature


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